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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 ALEX HOLMES, JOSH NAVARRO, NICO
 TRAMONTANA, BITCOIN VENTURES 2020, LLC,
 YASAR CORPORATION and ONEPURPOSE LTD.,                                       COMPLAINT

                                       Plaintiffs.                     JURY TRIAL DEMANDED

                against-                                                   Case No.: __________

 CHET MINING CO, LLC, CHET MINING CO CANADA
 LTD., and CHET STOJANOVICH,

                                       Defendants.


TO THE ABOVE-NAMED DEFENDANTS:

       Plaintiffs Alex Holmes, Josh Navarro, Nico Tramontana, Bitcoin Ventures 2020, LLC, Yasar

Corporation and OnePurpose Ltd. (hereinafter referred to as “plaintiffs”), by and through their attorneys,

E. Stewart Jones Hacker Murphy LLP, as and for a complaint herein against the above-captioned

defendants (hereinafter referred to as “defendants”), allege as follows:

                                           INTRODUCTION

       1.              This action asserts claims for, among other things, civil RICO violations, breach of

contract, fraud, conversion and unjust enrichment. The defendants executed a fraudulent scheme to induce

the plaintiffs to part with hundreds of thousands of dollars, based on the defendants’ promises and

representations that they would deliver cryptocurrency mining equipment and/or hosting services. The

defendants perpetrated this scheme with numerous false and misleading text messages and emails, and

accepted the proceeds of the fraud by electronic means, such as bank wires and cryptocurrency payments.

The defendants have not delivered the goods or services they promised, and have not refunded plaintiffs’

purchase money despite due demand. Moreover, the totality of the evidence shows that the defendants
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never intended to provide the goods and services that the plaintiffs bargained for. The consistency of the

pattern is overwhelming. In case after case, defendant Chet Stojanovich, acting for himself and the

corporate defendants, described himself as having a cryptocurrency mining capacity that was fictitious,

took money from the plaintiffs (and others) for goods and services he was incapable of producing, and

then simply absconded (after a brief period of trying to mask his breaches with falsified reports of mining

income, as discussed below). For the reasons described below, the plaintiffs are entitled to judgment

against the defendants.

                                     JURISDICTION AND VENUE

       2.              This Court has federal question jurisdiction over this matter pursuant to 28 U.S.C.

§1331, because the plaintiffs assert a cause of action under the Racketeer Influencing & Corrupt

Organizations Act, 18 U.S.C. §1962 eq. seq.

       3.              Alternatively, the Court has diversity jurisdiction over this matter pursuant to 28

U.S.C. §1332 because it is a dispute between the citizens or subjects of different states (and foreign states)

and the amount in controversy exceeds $75,000.00.

       4.              As set forth in more detail below, plaintiffs Alex Holmes is domiciled in Los

Angeles, California, plaintiff Josh Navarro is domiciled in Miami Florida, Plaintiff Nico Tramontana is

domiciled in Milleville, New Jersey, plaintiff Bitcoin Ventures 2020, LLC is a Virginia limited liability

company domiciled (with a principal place of business) in Vienna, Virginia, plaintiff Yasar Corporation

is a Nevada corporation with a principal place of business in Las Vegas, Nevada, and plaintiff OnePurpose

Ltd. is a Hong Kong corporation with a principal place of business in Shenzhen, China.

       5.              As set forth in more detail below, defendants Chet Mining Co, LLC (“CMC”) and

Chet Mining Co. Canada Ltd. (“CM Canada”) are, upon information and belief, business entities formed

under the laws of Wyoming and British Columbia, respectively. Both businesses have their principal
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places of business in New York, New York. As set forth in more detail below, defendant Chet Stojanovich

is a natural person domiciled in New York, New York.

       6.               Accordingly, there is complete diversity among the parties plaintiff and defendant.

       7.               Venue is proper within the Southern District of New York pursuant to 28 U.S.C. §

1391(b)(1) and (2) as the subject transactions and occurrences took place in the Southern District of New

York and the defendants are located in the Southern District of New York.

           8.           This Court has jurisdiction over the defendants pursuant to NY CPLR §301 as the

defendants are principally headquartered and reside in the State of New York, City of New York, and NY

CPLR§ 302(a)(1) because the defendants regularly transact and do business in New York deriving

substantial financial gain from the same. Alternatively, the Court also has jurisdiction pursuant to NY

CPLR §302(a)(1) because the defendants transacted business with the plaintiffs from New York including,

without limitation, invoicing the plaintiffs for equipment and services from New York and accepting

payment for same, and this action arises out of said transactions. Alternatively, the Court has personal

jurisdiction pursuant to NY CPLR §302(a)(2), because the defendants committed a tortious act within

New York, causing harm to the plaintiffs therefrom (namely, the acts of fraud and conversion pled below).

                                           DEMAND FOR JURY

            9.   Plaintiffs hereby demands a jury trial.

                                                  PARTIES

       10.              Plaintiff Alex Holmes is a natural person residing at 664 S, Mansfield Avenue, Los

Angeles, California.

       11.              Plaintiff Josh Navarro is a natural person residing at 2480 Lincoln Avenue, Miami,

Florida.


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       12.               Plaintiff Nico Tramontana is a natural person residing at 716 Mallard Street,

Millville, New Jersey.

       13.               Plaintiff Bitcoin Ventures 2020, LLC (“Bitcoin Ventures”) is a liability company

organized under the laws of Virginia, with a principal place of business in Vienna, Virginia.

       14.               Plaintiff Yasar Corporation is a Nevada corporation with a principal place of

business at 3773 Howard Hughes Pkwy. Suite 500s, Las Vegas, NV 89169.

       15.               Plaintiff OnePurpose Ltd. (“OnePurpose”) is a corporation organized under the

laws of Hong Kong with a principal place of business at Room C104, Xinkongqi Apartment, Shekou

New Street Nanshan Dist., Shenzhen, 518067, China.

       16.               Defendant CMC is a foreign limited liability company existing under the laws of

the State of Wyoming, with principal place of business at 105 Duane Street, New York, New York 10007.

       17.               Defendant CM Canada is purportedly a foreign corporation existing under the laws

of British Columbia, Canada, with a principal place of business at 105 Duane Street, New York, New

York 10007.

       18.               Defendant Chet Stojanovich is a natural person residing in the State of New York,

City of New York, with a current residential address of 105 Duane Street, Apartment 20F, New York,

New York 10007.

       19.               Upon information and belief, Chet Stojanovich is the sole member of CMC and

sole shareholder/principal of CM Canada.

       20.               Upon information and belief, Chet Stojanovich owns, operates, and otherwise

formed multiple entities using his personal residence as their principal place of business, including CMC

and CM Canada


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        21.             Upon information and belief, Chet Stojanovich, through CMC, purports to

distribute and sell bitcoin mining equipment to the public, and to offer Bitcoin mining hosting services.

        22.             Upon information and belief, Chet Stojanovich, through CMC and CM Canada,

purports to provide Bitcoin mining hosting services to the public.

        23.             Upon information and belief, Chet Stojanovich comingles the finances of his

business entities, using the same for his personal use and benefit.

        24.             Upon information and belief, Chet Stojanovich transfers money between his

various entities rendering them undercapitalized and insolvent.

        25.             Upon information and belief, Chet Stojanovich completely dominates and controls

CMC and CM Canada, and uses those business entities to defraud his customers and hinder creditors, such

as the plaintiffs herein.

        26.             Upon information and belief Chet Stojanovich regularly fails to observe business

formalities with regard to his management and operation of CMC and CM Canada.

        27.             Upon information and belief, Chet Stojanovich used CMC and CM Canada to

commit fraudulent and wrongful acts against plaintiff and other members of the public.

        28.             As such, CMC and CM Canada are the alter egos of Chet Stojanovich and of each

other. Chet Stojanovich is personally liable for CMC and CM Canada’s debts under a veil piercing or

alter ego theory, and the two business entities are likewise liable for each other’s debts to the plaintiffs

under a veil piercing or alter ego theory.

                      FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

        29.             At all relevant times, defendant Chet Stojanovich, individually and through his

companies CMC and CMC Canada, held himself out as a seller of Bitcoin mining equipment and provider

of Bitcoin mining hosting services.
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        30.           Bitcoin mining is a support service that facilitates cryptocurrency transactions.

Cryptocurrency is, of course, a form of “virtual” currency used to make purchases over the internet. For

convenience, security and privacy reasons, some consumers prefer to make online purchases with

cryptocurrency rather than credit cards. In these transactions, the consumer uses “regular money” (i.e.,

U.S. Dollars or another sovereign currency) to purchase units of cryptocurrency (such as Bitcoins) from a

cryptocurrency supplier. The consumer can then spend the Bitcoins to purchase goods and services from

online retailers.

        31.           Cryptocurrency miners are third parties that validate the consumer’s Bitcoins for

the seller. When a consumer offers Bitcoins to make a purchase, a Bitcoin mining business checks the

coins against digital ledger (known as a blockchain) to confirm that the Bitcoins are legitimate. This is

done nearly instantly, through the use of specialty computers commonly known as “miners.” The Bitcoin

mining business receives a fee for each transaction that it validates, usually equal to some percentage of

the Bitcoins that the consumer pays to the seller in the underlying purchase.

        32.           A Bitcoin mining business will usually run a number of these miner devices at the

same time, close to twenty-four hours a day, to validate as many transactions as possible (and realize as

much income as possible) as validation opportunities arise.

        33.           Some Bitcoin mining operations will “host” miner devices owned by other parties.

That is, in exchange for a fee, the mining business will assume custody of another person’s miner device,

plug it into the mining business’s power supply, and run the device so that it can validate Bitcoin

transactions and make money for its owner. A competent mining facility requires a high degree of access

to electrical power, because running a large number of machines requires a lot of energy.

        34.           The defendants purported to be a turnkey solution for persons interested in

developing Bitcoin mining portfolios. In particular, the defendants offered to: (a) sell bitcoin mining
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devices to interested purchasers; and (b) host those mining devices for the purchasers, purportedly at a

mining facility owned or controlled by the defendants in Canada, so that the purchasers could realize

income from their machines.

       35.             Defendant Chet Stojanovich held himself out as a cryptocurrency mining savant.

He also traded on the notoriety of his late father, Paul Stojanovich, who was a producer of reality television

shows about law enforcement, such as Cops and American Detective. As a result of his father’s work,

Chet Stojanovich represented to plaintiff Holmes and others that he (Stojanovich) had very substantial

connections in law enforcement, which contributed to the defendants’ veneer of security and legitimacy.

       36.             The defendants’ offerings were a fraudulent scheme. Repeatedly, the defendants

accepted payment from purchasers who had been promised and expected to receive Bitcoin mining devices

and/or hosting services, but the defendants failed to deliver the devices and did not host them. In effect,

the defendants fraudulently induced outsiders, such as the plaintiffs, to invest in mining devices and

hosting services, and simply took their money without supplying the goods or services that the defendants

represented that they could or would supply (but, in fact, were incapable of supplying).

A.     Plaintiff Alex Holmes

       37.             In spring and summer 2019, defendant Chet Stojanovich, acting for himself and for

CMC and CM Canada, induced Alex Holmes to pay the defendants $497,092.71 for bitcoin mining

equipment and hosting services that the defendants did not provide, and never intended to provide.

       38.             Defendant Chet Stojanovich, acting for himself and for CMC and CM Canada,

memorialized written offers for this equipment and hosting services, which he transmitted to Alex Holmes

by email and/or text message, on at least the following dates:




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               a.              On or about May 6, 2019, offering to sell twenty (20) Z11 miner devices

and one hundred (100) L3+ miner devices, and provide six (6) months of hosting services at the

defendants’ purported mining facility, for a price of $67,252.50.

               b.             On or about May 16, 2019, offering to sell fifty (50) Antminer L3+ devices,

for $19,293.75, also subject to the hosting services.

               c.             On or about May 21, 2019, offering to sell twenty (20) S9 and ninety (90)

L3+ mining devices, for $52,984.50, also subject to the hosting services.

               d.             On or about May 21, 2019, offering to sell another order of sixty (60) S9

and two hundred seventy (27) L3+devices, for $158,953.50, with hosting services.

               e.              On or about May 21, 2019, offering to sell another order of ten (10) S9 and

thirty (30) L3+ devices, for $20,312.25, also subject to the hosting services.

               f.             On or about July 18, 2019, offering to sell ten (10) S9 and twenty-six (26)

L3+ devices $36,648.00, also subject to the hosting services.

       39.             With respect to the foregoing offers, Holmes and Chet Stojanovich shared

telephone conversations and text message correspondences, in which they further negotiated, resulting in

some modifications to the terms of sale and quoted purchase prices. These communications were mostly

initiated by Chet Stojanovich, who proposed changes to his own price terms. The purchase price

adjustments resulted in the payment amounts alleged below.

       40.             To purchase the mining devices and hosting services offered by the defendants,

Alex Holmes made electronic funds transfers to defendant CMC on the following dates, in the following

amounts:

               a.             On May 7, 2019, a wire transfer in the amount of $60,000.

               b.             On May 17, 2019, a wire transfer in the amount of $19,293.75.
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               c.              On June 3, 2019, a wire transfer in the amount of $225,000.

               d.              On June 24, 2019, a wire transfer in the amount of $10,000.

                        Total May/June 2019 Wire Transfers:         $314,293.75

       41.              Holmes made these payments in reliance on the Chet Stojanovich’s representations

that he would provide the mining devices in exchange for said payments, and host them at the defendants’

purported mining facility in Canada.

       42.              Stojanovich, acting for himself and for defendants CMC and CMC Canada, never

intended to deliver the bargained for mining devices or provide the hosting services. As set forth below

with respect to the other plaintiffs, the defendants repeatedly, as a regular modus operandi, solicited

purchase payments by making fraudulent offers, and then pocketed the money without actually delivering

the goods or services. In fact, plaintiffs Yasar Corporation and One Purpose eventually learned through

private investigation that the defendants did not even own or control the facility where the hosting was

supposed to occur.

       43.              Holmes’ delivery of the foregoing payments by wire transfer constituted an

acceptance of the defendants’ offer to sell the cryptocurrency mining equipment with hosting services,

forming a binding contract between the parties in which the defendants were obligated to deliver the goods

and services ordered.

       44.              The defendants never produced, procured or delivered the mining equipment that

Holmes ordered and paid for and, therefore, never hosted it. This constitutes a breach of the parties’

contract.

       45.              Beginning after Holmes’ payments in May 2019, the defendants pretended that they

had procured and were running (hosting) mining devices for Holmes, to lull him into a belief that the

defendants were performing. The defendants did this by investing funds in NiceHash opportunities.
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NiceHash is a shared market platform in which investors can buy participation shares in other people’s

mining devices, and share in the income generated by those devices. In other words, instead of delivering

and hosting the actual, physical mining devices that Holmes had paid for, the defendants were just buying

shares in other people’s machines on NiceHash, and providing some of the income back to Holmes. Chet

Stojanovich falsely characterized this income as “returns” coming from the physical machines Holmes

had ordered and paid for, even though the defendants never actually produced, procured or delivered those

machines.

       46.             Over the summer of 2019, Chet Stojanovich, acting for himself and defendants

CMC and CM Canada perpetrated this fraud transmitting the mischaracterized “returns” to Holmes by

electronic means, and reporting to him falsely, by text message and/or telephone, about the progress of

his investment without disclosing that the defendants had never actually produced or hosted any physical

machines for Holmes.

       47.             In June to July 2019, Chet Stojanovich, acting for himself and for defendants CMC

and CM Canada, fraudulently induced Holmes to make additional payments to CMC. During that time,

Stojanovich solicited Holmes to “reinvest” the “returns” he had received from the defendants’ NiceHash

activity (which Holmes thought were returns from his own physical machines that the defendants were

supposed to deliver) with CMC. Stojanovich represented, through electronic communications, that if

Holmes reinvested that money with CMC, CMC would be able to provide a higher quality of hosting

service (for various technical reasons), which would yield better returns in the future.

       48.             The defendants had no intention of using Holmes’ reinvested “returns” to improve

the hosting services. Indeed, as noted, Stojanovich knew that the defendants had, in fact, not procured,

produced or delivered any cryptocurrency mining devices for Holmes and were not really hosting any

such machines for Holmes.
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       49.            In reliance on Stojanovich’s representations, Holmes paid his “returns” back to

CMC, in Bitcoin transfers, on the following dates, in the following amounts:

               a.     July 12, 2019: 4.41 Bitcoin (at spot price of 11,905 per Bitcoin) for a value of
                      $52,501

               b.     July 12, 2019: 2.1 Bitcoin (at spot price of 11,905 per Bitcoin), for a value of
                      $25,000.

               c.     July 14, 2019: 0.42 Bitcoin (at spot price of 11,451 per Bitcoin), for a value of
                      $4,809.

               d.     July 17, 2019: 9.36 Bitcoin (at spot price of 10,736 per Bitcoin) for a value of
                      $100,488.96

                      Total July 2019 Transfers:                   $182,798.96

       50.            It goes without saying that the defendants did not, in fact, use those funds to

enhance (or preform) any hosting services for Holmes. The defendants never procured any mining devices

for Holmes, and never hosted them.

       51.            Between the $314,293.75 in wire transfers that Holmes made in May and June 2019

and the Bitcoin transfers of $182,798.96 in July 2019, Holmes paid the defendants a total of $497,092.71.

       52.            After Holmes made these payments to CMC, Stojanovich became less

communicative, and more evasive in his dealings with Holmes. Stojanovich routinely ignored Holmes’

text messages which sought an accounting of what was occurring with his machines. Eventually, in early

2020, Stojanovich admitted to Holmes that the “returns” that he had previously remitted to Holmes (and

which Holmes had “reinvested”) had come from NiceHash speculation, not production from any physical

machines owned by Holmes.

       53.            Holmes has duly demanded the return of his property and his payments, which the

defendants have ignored. The foregoing constitutes a breach of the parties’ contract.


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B.     Plaintiff Josh Navarro

       54.            In June 2019, Stojanovich, acting for himself and for CMC and CM Canada, offered

to sell Navarro cryptocurrency mining devices and one (1) year of hosting services for those devices. The

devices included, without limitation, fifty (50) L3+/++ and 12 S9 units, for a price of $60,375.00.

       55.            Stojanovich, acting for himself and for CMC and CM Canada, transmitted to

Navarro a written invoice memorializing those terms on June 12, 2019, by electronic means.

       56.            In fact, the defendants never intended to deliver the bargained for mining devices

or provide the hosting services. As noted, upon information and belief, the defendants did not in fact own

or control the facility where the hosting was to occur, and their regular modus operandi was to take

payment from purchasers and deliver no equipment whatsoever.

       57.            In reliance on the defendants’ representations, Navarro accepted the June 12, 2019

offer, and Navarro’s representative transferred to CMC the purchase price of for the June 12, 2019 order

($60,375.00), by wire transfer on July 16, 2019.

       58.            Navarro’s acceptance of the terms offered by the defendants and delivery of

payment, formed a binding and enforceable contractual agreement between Navarro and the defendants,

in which the defendants were obligated to deliver the equipment and provide the hosting services.

       59.            In August 2019, Stojanovich, acting for himself and for CMC and CM Canada,

offered to sell Navarro additional mining devices and one (1) year of hosting services for those devices.

The offered devices included, without limitation, 50 S9s and 50 L3s+/++ units, for a price of $120,750.00.

       60.            Stojanovich, acting for himself and for CMC and CM Canada, transmitted to

Navarro a written invoice memorializing said terms on August 12, 2019.


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       61.            Once again, the defendants had no intention of delivering the bargained for

equipment or services.

       62.            In reliance on the defendants’ representations, Navarro accepted the August 12,

2019 offer, and Navarro’s representative transferred to CMC the purchase price of for the August 12, 2019

order ($120,750.00), by wire transfer on August 14, 2019.

       63.            Navarro’s acceptance of the terms offered by the defendants and delivery of

payment, formed a binding and enforceable contractual agreement between Navarro and the defendants,

in which the defendants were obligated to deliver the equipment and provide the hosting services.

       64.            Despite the defendants’ receipt of payment, the defendants did not deliver any of

the equipment that Navarro ordered (under any of the foregoing contracts), and did not host the equipment.

Rather, after the defendants received the last of Navarro’s payments, the defendants largely avoided

Navarro’s attempts to communicate with them.

       65.            Between the Navarro’s July 16, 2019 and August 14, 2019 wire transfers, he paid

$181,125.00 for equipment and services that he never received.

       66.            Navarro has duly demanded the return of his property and his payments, which

demands the defendants have ignored. The foregoing constitutes a breach of the parties’ contract.

C.     Plaintiff Nico Tramontana

       67.            In June 2019, Stojanovich, acting for himself and for CMC and CM Canada, offered

to sell plaintiff Tramontana mining devices and one (1) year of hosting services for those devices. The

devices included, without limitation, fifty (50) L3+/++ and 12 S9 units, for a price of $114,843.75.

       68.            Stojanovich, acting for himself and for CMC and CM Canada, transmitted to

Tramontana a written invoice memorializing those terms on June 19, 2019.


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       69.             In fact, the defendants never intended to deliver the bargained for mining devices

or provide the hosting services. As noted, upon information and belief, the defendants did not in fact own

or control the facility where the hosting was to occur, and their regular modus operandi was to take

payment from purchasers and deliver no equipment whatsoever.

       70.             In reliance on the defendants’ representations, Tramontana accepted the above-

described offer. Tramontana and the defendants agreed that Tramontana would pay the purchase price in

installments, and the defendants would deliver and host the devices likewise, proportionally, in

installments.

       71.             In reliance on the defendants’ representations, Tramontana transferred an

installment of $30,025 on June 19, 2019 (by wire transfer), an installment of $25,000 on June 24, 2019

(by wire transfer), an installment of $7,525 on June 25, 2019 (by wire transfer), a transfer of $10,000 on

July 12, 2019 (by wire transfer) and one additional transfer of $8,000 (by Bitcoin), for a total of $80,550.

       72.             The defendants failed to deliver or host the machines that Tramontana paid for with

these transfers. Furthermore, the defendants did not account for Tramontana’s money or his machines

when he inquired about their status. As a result, Tramontana declined to make any further installment

payments to the defendants.

       73.             Tramontana’s acceptance of the terms offered by the defendants and delivery of the

payments described above, formed a binding and enforceable contractual agreement between Tramontana

and the defendants, in which the defendants were obligated to deliver the equipment and provide the

hosting services for the machines that Tramontana paid for.

       74.             Despite the defendants’ receipt of payment, the defendants did not deliver any of

the equipment that Tramontana ordered, and did not host the equipment. Rather, after the defendants

received Tramontana’s payments, they largely avoided Tramontana’s attempts to communicate with them.
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       75.            Tramontana has duly demanded the return of his property and his payments, which

demands the defendants have ignored. The foregoing constitutes a breach of the parties’ contract.

D.     Plaintiff Bitcoin Ventures

       76.            In June 2019, Stojanovich, acting for himself and for CMC and CM Canada, offered

to sell Bitcoin Ventures’ predecessor (and current owner) one hundred (100) L3+/++ and twenty-five (25)

S9 cryptocurrency mining devices and one (1) year of hosting services for those devices. The defendants

offered a purchase price of $120,750.00.

       77.            On June 5, 2019, Stojanovich transmitted an invoice on CMC’s letterhead,

memorializing this offer at the $120,750.00 price.

       78.            In fact, the defendants never intended to deliver the bargained for mining devices

or provide the hosting services. As noted, upon information and belief, the defendants did not in fact own

or control the facility where the hosting was to occur, and their regular modus operandi was to take

payment from purchasers and deliver no equipment whatsoever.

       79.            In reliance on the defendants’ representations, Bitcoin Ventures’ predecessor (and

current owner) accepted the above-described offer, and transferred to CMC the purchase price of

$120,750.00, by wire transfer on June 6, 2019.

       80.            The acceptance by Bitcoin Ventures’ predecessor of the terms offered by the

defendants, and delivery of payment to the defendants, formed a binding and enforceable contractual

agreement between the parties, in which the defendants were obligated to deliver the equipment and

provide the hosting services as ordered by Bitcoin Ventures’ predecessor.

       81.            Despite the defendants’ receipt of payment, the defendants did not deliver any of

the equipment that were ordered, and did not host the equipment. Rather, after the defendants received

the June 6, 2019 wire transfer, they largely avoided the plaintiff’s attempts to communicate with them.
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       82.             Bitcoin Ventures and its predecessor (and current owner) have duly demanded the

equipment ordered and the purchase money, which demands the defendants have ignored. The foregoing

constitutes a breach of the parties’ contract.

       83.             Bitcoin Ventures’ owner has assigned his claims against the defendants to Bitcoin

Ventures.

E.     Plaintiffs Yasar Corporation and One Purpose

       84.             Plaintiff Yasar Corporation is a part owner of plaintiff One Purpose. Accordingly,

plaintiffs Yasar Corporation and One Purpose are affiliates.

       85.             Effective March 6, 2019, One Purpose entered into a written Hosting Services

Agreement with CM Canada. In that Agreement, CM Canada agreed to host mining devices that One

Purpose would ship to CM Canada’s putative mining facility (in Canada). As explained above, to “host”

another person’s mining devices means to take physical custody of them, and plug them into an electrical

network in a controlled facility so that the machines may run and generate income for the owner. (Unlike

the other plaintiffs in this case, One Purpose did not purchase mining devices from the defendants; One

Purpose already owned devices and only needed to purchase the hosting services.)

       86.             The Hosting Services Agreement provided that One Purpose would pay CM

Canada a base fee of $393,827.85 for the hosting services, and would pay $308,827.85 of that amount at

the outset as a deposit.

       87.             Between the Hosting Service’s Effective Date of March 6, 2019 and March 19,

2019, the parties had further negotiations about the price, and Chet Stojanovich, acting for himself and

CMC and CM Canada, requested an increase in the deposit amount to approximately $365,000.

       88.             On March 19, 2019, One Purpose caused the full amount of the deposit to be paid

to the defendants. Specifically, on March 19, 2019, One Purpose effectuated five (5) transfers of
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cryptocurrency to Chad Stojanovich’s personal cryptocurrency wallets, to pay the deposit, in the following

increments:

                       Cryptocurrency Units             Dollar Value as of March 19, 2019
                           Transferred
                          27.71 Bitcoins                            $104,880.00
                          26.42 Bitcoins                             $3,414.26
                          244 Ethereum                              $33,300.65
                           32.66 Bitcoin                            $129,541.97
                           32.50 Bitcoin                            $127,623.92

                                               TOTAL:               $365,460.15

        89.           One Purpose’s principals effectuated these transfers from several different

cryptocurrency wallets that they controlled.

        90.           In late April 2019, defendant Chet Stojanovich, acting for himself and CMC and

CM Canada, relayed to Yasar Corporation and One Purpose that it would be necessary to increase the

price for the hosting services beyond the $393,827.85 base fee recited in the Hosting Services Agreement.

After some additional discussion, the plaintiffs agreed to pay approximately $120,000 more in hosting

fees.   On April 26, 2020, defendant CMC (not CMC Canada) issued a written invoice to Yasar

Corporation’s principal (Brad Yasar), charging for the additional fees in the amount of $102,224.00.

        91.           On May 1, 2019, Yasar Corporation effectuated payment to CMC in the amount of

$102,224.00, to pay the additional hosting services fees. Yasar Corporation effectuated payment by wire

transfer from a fund that its principals controlled. CMC accepted the payment.

        92.           Pursuant to the parties’ agreement, in early May 2019, One Purpose shipped

approximately 1,200 cryptocurrency mining devices to the putative mining facility in Canada, where CMC

and/or CM Canada were purportedly going to host the machines.




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       93.              Although the machines were supposed to “go live” within a few days of delivery,

they never went live. Yasar Corporation’s principals contacted the Canadian mining facility to inquire

about the status. They were told by the persons running the facility that they did not have the machines.

       94.              These individuals further reported that the defendants did not own or control that

mining facility (contrary to the defendants’ representations), and that Chet Stojanovich had arrived and

claimed possession of One Purpose’s machines as his own, and removed them from the facility.

       95.              One Purpose’s further investigation revealed that Stojanovich had placed One

Purpose’s machines in a Canadian storage unit (where they were not plugged into a power source and not

operating). Yasar Corporation was able to negotiate the release of the machines with the storage unit’s

owner, but was forced to pay the storage unit approximately $8,000 in accrued storage fees.

       96.              Between the plaintiffs’ March 19, 2019 cryptocurrency transfers and May 1, 2019

wire transfer, Yasar Corporation paid the defendants $467,684.15 in fees for hosting services that the

defendants never provided. The foregoing constitutes a breach of the parties Hosting Services Agreement

and the amendments thereto.

F.     Loss of Cryptocurrency Value

       97.              Each and every one of the plaintiffs who made the above payments using

cryptocurrency suffered additional harm, equal to the difference in value of the cryptocurrency units at

the time they made the payments, and their value at the time of trial (or motion for default judgment). The

dollar value of cryptocurrency fluctuates over time. Through their misrepresentations, the defendants

induced the plaintiffs to part with cryptocurrency units which, upon information and belief, have a higher

dollar value today than they did at the time of payment. If the defendants had not induced the above-

described payments, the plaintiffs could have enjoyed the higher value that later accrued to the

cryptocurrency units.
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                         AS AND FOR A FIRST CAUSE OF ACTION (CIVIL RICO)

       98.     Plaintiffs repeat, reiterate and reallege each and every allegation set forth in the above

paragraphs as if repeated and set forth at length in this cause of action.

       99.     The defendants carried out their scheme through the commission of two or more acts of

racketeering activity within the meaning of the Racketeer Influence & Corrupt Organizations Act (RICO),

including, without limitation, 18 U.S.C. §§1962(c) and 1964(c).

       100.    The defendants’ racketeering activity consisted of numerous acts of wire fraud in violation

of 18 U.S.C. §1343. The defendants themselves used electronic means such as emails, text messages and

videoconferencing to make fraudulent misrepresentations to the defendants, and accepted payment from

the plaintiffs by electronic means such as wire transfers and cryptocurrency exchanges. The racketeering

acts included, by example and without limitation:

               a.              Text messages and emails through which defendant Stojanovich, acting for

       himself and for CMC and CM Canada, transmitted each of the written invoices described above,

       on the dates set forth above, which presented offers to sell bitcoin mining devices and hosting

       services which the defendants never intended to deliver (and were incapable of delivering), which

       emails and text messages were sent for the very purpose of inducing the plaintiffs to pay money to

       the defendants;

               b.              Numerous text messages in which Stojanovich, acting for himself and for

       CMC and CM Canada, described his companies’ operations in a false and misleading manner,

       presenting himself and the businesses as controlling a bitcoin mining facility capable of hosting

       their devices when, in fact, they lacked that capacity. These include, without limitation, dozens of

       text messages from Stojanovich to plaintiff Holmes between May 2019 and April 2020, dozens of

       text messages between Stojanovich and plaintiff One Purpose LTD in 2019, dozens of emails
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       between Stojanovich and plaintiff Navarro throughout 2019 and dozens of emails between

       Stojanovich and Tramontana in 2019.

               c.              Repeated electronic messages in which Chet Stojanovich, acting for himself

       and CMC and CM Canada, reported false “returns” to some of the plaintiffs, characterizing them

       as income from machines he was hosting for them, when in fact the Stojanovich was simply

       investing in, and extracting some revenue from, NiceHash opportunities.

       101.            The defendants’ acts of racketeering activity constituted a pattern.

       102.            Said acts constituted a pattern because the acts had the same or similar purposes,

results, participants, victims, or methods of commission, and are otherwise interrelated by distinguishing

characteristics. These were not isolated events. The defendants perpetrated this scheme against each of

the plaintiffs, and other individuals, in the same way, offering the same type of equipment for sale, offering

hosting services for the same durations (6 months or a year), inducing payment by making the same offers

in the same format, and injuring the plaintiffs in the same way—i.e., by taking their money, and utterly

failing to deliver equipment or hosting services.

       103.            These acts also constituted a pattern because they were characterized by continuity.

The scheme reflected open-ended continuity, inasmuch as the defendants’ criminal activity has continued

or threatened to continue beyond the period during which the predicate acts were performed. Indeed, the

defendants have continued to use fraud and deception as a means to evade the plaintiffs and their efforts

to recover their money and/or their property. Stojanovich repeated his false and misleading text messages

and emails throughout 2019 and into 2020, to disguise his non-performance.

       104.            The scheme constitutes an enterprise through which each of the defendants directly

or indirectly participated. Stojanovich, CMC and CM Canada are each separate and distinct entities

(although conflated and abused by Stojanovich), each of which plays a discrete part in the scheme.
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Stojanovich peddles himself as a savant in the field of cryptocurrency mining to induce interest from

investors and makes the extravagant representations and promises. CMC is the vehicle used primarily to

charge customers and collect their money—CMC was the entity that predominantly invoiced the plaintiffs

and received their payments. And CM Canada held itself out as the owner or controller of the Canadian

facility where all of this hosting was actually supposed to occur.

       105.            The defendants’ activities affected interstate commerce. Each and every one of the

plaintiffs are domiciled out of state, did business with the defendants in New York from out of state, and

transferred funds to the defendants from out of state.

       106.            The defendants’ activities caused injury to the plaintiffs. By reason of the foregoing

acts of racketeering activity, each of the plaintiffs was induced to pay money to the defendants, which the

defendants misappropriated.

       107.            That as a result of the foregoing, Chet Stojanovich, CMC and CM Canada are

jointly and severally liable to plaintiffs for at least: (i) $497,092.71 in compensatory damages for Alex

Holmes; (ii) $181,125.00 in compensatory damages for Josh Navarro; (iii) $80,550 in compensatory

damages for Nico Tramontana; (iv) $120,750.00 in compensatory damages for Bitcoin Ventures 2020,

LLC; (v) $467,684.15 in compensatory damages for Yasar Corporation and One Purpose; (vi) additional

compensatory damages for each of the plaintiffs who made payments to the defendants through

cryptocurrency, for the difference in value between the cryptocurrency units when paid and their value at

the time of trial or motion for default judgment; (vii) trebling of said damages pursuant to civil RICO;

and (viii) interest at the legal rate thereon from and after the dates of defendants’ unlawful acts.

                  AS AND FOR A SECOND CAUSE OF ACTION (BREACH OF CONTRACT)

       108.            Plaintiffs repeat, reiterate and reallege each and every allegation set forth in the

above paragraphs as if repeated and set forth at length in this cause of action.
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        109.            Each of the above-described offers to sell mining equipment and/or provide hosting

services by the defendants, and the plaintiffs’ acceptance of same and delivery of payment, formed binding

and enforceable contracts in which the defendants were obligated to deliver the equipment and provide

the hosting services for which the plaintiffs paid.

        110.            The plaintiffs fully performed under their contracts by tendering the payments

described above.

        111.            The defendants have breached their contracts with each and every one of the

plaintiffs by failing to deliver any of the equipment ordered and paid for by the plaintiffs, and failure to

provide the hosting services paid for by the plaintiffs.

        112.            The defendants have wrongfully refused the plaintiffs’ demands for refunds.

        113.            The defendants have failed to deliver the equipment and services that the plaintiffs

bought and paid for.

        114.            As a direct and proximate result of the defendants’ breach of contract, the plaintiffs

suffered actual and consequential damages.

        115.            The defendants’ conduct was willful, malicious, and undertaken with malice

aforethought.

        116.            That as a result of the foregoing, Chet Stojanovich, CMC and CM Canada are

jointly and severally liable to plaintiffs for breach of contract, and the plaintiffs are entitled to at least: (i)

$497,092.71 in compensatory damages for Alex Holmes; (ii) $181,125.00 in compensatory damages for

Josh Navarro; (iii) $80,550 in compensatory damages for Nico Tramontana; (iv) $120,750.00 in

compensatory damages for Bitcoin Ventures 2020, LLC; (v) $467,684.15 in compensatory damages for

Yasar Corporation and One Purpose; (vi) additional compensatory damages for each of the plaintiffs who

made payments to the defendants through cryptocurrency, for the difference in value between the
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cryptocurrency units when paid and their value at the time of trial or motion for default judgment; (vii)

punitive damages in an amount to be determined by the jury or the Court; and (viii) interest at the legal

rate thereon from and after the dates of defendants’ unlawful acts.

    AS AND FOR A THIRD CAUSE OF ACTION (FRAUD/FRAUDULENT INDUCEMENT)

        117.            Plaintiffs repeat, reiterate and reallege each and every allegation set forth in above

paragraphs as if repeated and set forth at length in this cause of action.

        118.            Defendant Stojanovich used his companies CMC and CM Canada to commit fraud

as against the plaintiffs.

        119.            Defendant Stojanovich used CMC and CM Canada’s seemingly legitimate facade

to induce plaintiffs into entering into a contract for a sale of goods and/or hosting services that the

defendants knew they would not and could not perform.

        120.            At all relevant times defendant Stojanovich intended to cause CMC and CM

Canada to breach said contracts, and never intended to perform them.

        121.            Stojanovich accepted the plaintiffs’ funds personally and/or by and through CMC

and CM Canada, intending to keep the purchase money for his own personal use and benefit without

delivering the goods sold to the plaintiffs, or performing the services promised to the plaintiffs.

        122.            Stojanovich represented to the plaintiffs that he would use their funds to purchase

the equipment as promised, and to host the equipment to provide crypto currency mining services, which

representation was false when made because Stojanovich had a present intention not to perform said

promises.

        123.            The plaintiffs materially and reasonably relied upon said misrepresentations to their

detriment. Namely, said misrepresentations induced the plaintiffs to pay the price for said equipment and

services in the amounts alleged above.
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       124.            Stojanovich, upon information and belief, transferred the plaintiffs’ purchase

money out of CMC’s financial accounts, for the personal benefit of Stojanovich.

       125.            Chet Stojanovich, individually, used the corporate entities to commit fraud on the

plaintiffs with malice aforethought for his own personal benefit, willfully and maliciously.

       126.            The Federal Bureau of Investigation is currently conducting a criminal

investigation into the aforesaid fraudulent transaction described herein.

       127.            As a result of the foregoing, Chet Stojanovich, CMC and CM Canada are jointly

and severally liable to plaintiffs, and the plaintiffs are entitled to at least: (i) $497,092.71 in compensatory

damages for Alex Holmes; (ii) $181,125.00 in compensatory damages for Josh Navarro; (iii) $80,550 in

compensatory damages for Nico Tramontana; (iv) $120,750.00 in compensatory damages for Bitcoin

Ventures 2020, LLC; (v) $467,684.15 in compensatory damages for Yasar Corporation and One Purpose;

(vi) additional compensatory damages for each of the plaintiffs who made payments to the defendants

through cryptocurrency, for the difference in value between the cryptocurrency units when paid and their

value at the time of trial or motion for default judgment; (vii) punitive damages in an amount to be

determined by the jury or the Court; and (viii) interest at the legal rate thereon from and after the dates of

defendants’ unlawful acts.

                 AS AND FOR A FOURTH CAUSE OF ACTION (CONVERSION)

       128.            Plaintiffs repeat, reiterate and reallege each and every allegation set forth in the

above paragraphs as if repeated and set forth at length in this cause of action.

       129.             Plaintiffs own and are entitled to the exclusive possession the money they paid the

defendants or, failing that, possession of the equipment they purportedly purchased (for those plaintiffs

who ordered equipment).


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       130.            Defendant Stojanovich wrongfully used CMC and CM Canada to convert the

equipment and/or plaintiffs’ purchase money.

       131.            The equipment bargained for was worth at least the amounts paid by each of the

plaintiffs for same.

       132.            The defendants have wrongfully retained plaintiffs’ funds and the equipment

despite due demand from plaintiffs for the return of said funds or fulfillment of the contracts.

       133.            The defendants’ conduct was willful and malicious.

       134.            That as a result of the foregoing, Chet Stojanovich, CMC and CM Canada are

jointly and severally liable to plaintiffs, and the plaintiffs are entitled to at least: (i) $497,092.71 in

compensatory damages for Alex Holmes; (ii) $181,125.00 in compensatory damages for Josh Navarro;

(iii) $80,550 in compensatory damages for Nico Tramontana; (iv) $120,750.00 in compensatory damages

for Bitcoin Ventures 2020, LLC; (v) $467,684.15 in compensatory damages for Yasar Corporation and

One Purpose; (vi) additional compensatory damages for each of the plaintiffs who made payments to the

defendants through cryptocurrency, for the difference in value between the cryptocurrency units when

paid and their value at the time of trial or motion for default judgment; (vii) punitive damages in an amount

to be determined by the jury or the Court; and (viii) interest at the legal rate thereon from and after the

dates of defendants’ unlawful acts.

                  AS AND FOR A FIFTH CAUSE OF ACTION (NY UCC § 2-711)

       135.            Plaintiffs repeat, reiterate and reallege each and every allegation set forth in the

above paragraphs as if repeated and set forth at length in this cause of action.

       136.            That pursuant to NY UCC § 2-711, when the seller fails to make the delivery of

goods, the buyer is entitled to a refund of the paid purchase price.


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       137.               That the plaintiffs are also entitled to damages pursuant to NY UCC § 2-713 for the

difference in the market price at the time of purchase compared to the current market price of the goods.

       138.               Upon information and belief it would now cost the plaintiffs considerably more to

purchase the equipment from another provider.

       139.               Pursuant to NY UCC § 2-711 and 2-713 the plaintiffs are entitled to damages in an

amount of at least the amounts they paid for said equipment, plus the difference in market value between

the equipment and the purchase price to “cover” the purchase of new equipment today, in an amount to

be determined at trial.

                  AS AND FOR A SIXTH CAUSE OF ACTION (NY UCC § 2-715)

       140.               Plaintiffs repeat, reiterate and reallege each and every allegation set forth in the

above paragraphs as if repeated and set forth at length in this cause of action.

       141.               That pursuant to NY UCC § 2-715 the plaintiffs are entitled to incidental and

consequential damages as a result of the defendants’ breach and failure to deliver the equipment as

contracted with said amount to be determined at trial by the finder of fact.

                AS AND FOR A SEVENTH CAUSE OF ACTION (NY UCC § 2-716)

       142.               Plaintiffs repeat, reiterate and reallege each and every allegation set forth in the

above paragraphs as if repeated and set forth at length in this cause of action.

       143.               Upon information and belief, the plaintiffs have undertaken reasonable efforts to

cover the goods that the defendants failed to deliver, and the circumstances indicate that the same will be

unavailing.

       144.               That pursuant to NY UCC § 2-716 the plaintiffs are entitled to specific performance

of the parties’ contract thus this Court should order that if the defendants are in actual or constructive


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possession of the equipment, then it belongs to the plaintiffs and should be delivered to the plaintiffs as

promised.

             AS AND FOR AN EIGHTH CAUSE OF ACTION (UNJUST ENRICHMENT)

       145.            Plaintiffs repeat, reiterate and reallege each and every allegation set forth in the

above paragraphs as if repeated and set forth at length in this cause of action.

       146.            In the alternative, if and to the extent the Court or the trier of fact finds that an

express contract is lacking between the parties, the defendants are liable in equity.

       147.            Namely, the defendants have been unjustly enriched by their receipt of the above-

described purchase moneys, and their failure to deliver the equipment and services for which those funds

were given. In equity, the defendants ought not be permitted to retain those benefits, and should be

enjoined to disgorge them to the plaintiffs.

       148.            That as a result of the foregoing, Chet Stojanovich, CMC and CM Canada are

jointly and severally liable to plaintiffs, and the plaintiffs are entitled to at least: (i) $497,092.71 in

compensatory damages for Alex Holmes; (ii) $181,125.00 in compensatory damages for Josh Navarro;

(iii) $80,550 in compensatory damages for Nico Tramontana; (iv) $120,750.00 in compensatory damages

for Bitcoin Ventures 2020, LLC; (v) $467,684.15 in compensatory damages for Yasar Corporation and

One Purpose; (vi) additional compensatory damages for each of the plaintiffs who made payments to the

defendants through cryptocurrency, for the difference in value between the cryptocurrency units when

paid and their value at the time of trial or motion for default judgment; (vii) punitive damages in an amount

to be determined by the jury or the Court; and (viii) interest at the legal rate thereon from and after the

dates of defendants’ unlawful acts.

       WHEREFORE, the plaintiffs demand judgment against the defendants jointly and severally for

       (i)      An award of compensatory damages to Alex Holmes for at least $497,092.71;
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        (iii)   An award of compensatory damages to Josh Navarro for at least $181,125.00;

        (iv)    An award of compensatory damages to Nico Tramontana for at least $80,550.00;

        (v)     An award of compensatory damages to Bitcoin Ventures 2020, LLC for at least

$120,750.00;

        (v)     An award of compensatory damages to Yasar Corporation and One Purpose for at least

$467,684.15;

        (vi) additional compensatory damages for each of the plaintiffs who made payments to the

defendants through cryptocurrency, for the difference in value between the cryptocurrency units when

paid and their value at the time of trial or motion for default judgment;

        (vii)   Trebling of the foregoing damages pursuant to civil RICO;

        (viii) An award of attorneys’ fees and litigation costs incurred in this action pursuant to civil

RICO;

        (ix)    An award of punitive damages for all plaintiffs in an amount to be determined at trial; and

        (x)     Interest at the legal rate thereon from and after the dates of said breaches.



Dated: June 10, 2020                   E. STEWART JONES HACKER MURPHY LLP
       Troy, New York

                                       By:     ________________________________
                                               John F. Harwick, Esq.
                                               SDNY Bar No: JH5253
                                               Attorneys for Plaintiffs
                                               28 Second Street
                                               Troy, New York 12110
                                               Tel. No.: (518) 274-5820




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